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                           EXHIBIT 1
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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION



   BLUE SPIKE, LLC,

                         Plaintiff,

          v.                                             Civil Action No. 6:15-cv-00584-RWS-CMC

   AUDIBLE MAGIC CORPORATION,

                         Defendant.

   AUDIBLE MAGIC CORPORATION,

                         Counterclaim Plaintiff,

          v.

   BLUE SPIKE, LLC, BLUE SPIKE, INC.,
   and SCOTT A. MOSKOWITZ,

                         Counterclaim Defendants.


                COMPLAINT IN INTERVENTION FOR INJUNCTIVE RELIEF

          Intervenor Electronic Frontier Foundation, on behalf of itself, by way of this Complaint

   in Intervention against Plaintiff Blue Spike, LLC and Defendant Audible Magic Corp., states and

   alleges as follows:

                                             THE PARTIES

          1.      Intervenor Electronic Frontier Foundation (“EFF”) is a registered non-profit

   organization based in San Francisco, California, and works to defend civil liberties in the digital

   world. EFF champions free expression and innovation through impact litigation, policy analysis,

   grassroots activism, and technology development. EFF works to ensure that rights and freedoms

   are enhanced and protected as the use of technology grows. EFF is especially concerned with

   the transparency of patent litigation and the resulting inability for the public to fully understand


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   asserted patents and patent litigation’s effect on innovation and creativity.

          2.      On information and belief, Blue Spike is a Texas limited liability company and its

   principal place of business is located in Tyler, Texas.

          3.      On information and belief, Plaintiff Blue Spike, LLC (“Blue Spike”) owns and/or

   controls several patents which it asserts have been infringed in numerous federal court

   proceedings, including this case.

          4.      On information and belief, Defendant Audible Magic Corp. (“Audible Magic”) is

   a California corporation and its principal place of business is located in Los Gatos, California.

          5.      In this action, Blue Spike has brought claims against Audible Magic for

   infringement of U.S. Patent No. 7,346,472; U.S. Patent No. 7,660,700; U.S. Patent No.

   7,949,494; and U.S. Patent No. 8,214,175 (collectively, the “patents-in-suit”).

          6.      Audible Magic has counterclaimed for declaratory judgment of non-infringement,

   invalidity, and/or unenforceability of U.S. Patent No. 7,346,472; U.S. Patent No. 7,660,700; U.S.

   Patent No. 7,949,494; and U.S. Patent No. 8,214,175, as well as claims of unjust enrichment,

   violation of 15 U.S.C. § 1125(a) (“Lanham Act”), common law unfair competition, and

   infringement of U.S. Patent No. 6,834,308.

                                            JURISDICTION

          7.      This court has supplemental jurisdiction under 28 U.S.C. § 1367(a) to hear causes

   of action brought under the permissive joinder rules of Federal Rule of Civil Procedure 24(b).

   The Court need not consider whether this intervention destroys diversity jurisdiction because the

   underlying dispute is properly before this Court under the exclusive patent-jurisdiction statute.

   28 U.S.C. §§ 1331, 1332, 1338(a) and 1367; see First Amended Complaint, ECF No. 2,

   originally filed Apr. 4, 2014 in Case No. 6:12-cv-499-RWS-CMC, ECF No. 1400.




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                                      STATEMENT OF FACTS

          8.      Blue Spike initiated this litigation on August 27, 2012 in the Eastern District of

   Texas. Case No. 6:12-cv-576-RWS-CMC. On March 26, 2013, that litigation was consolidated

   with Blue Spike v. Texas Instruments, et al., No. 6:12-cv-499-RWS-CMC (E.D. Tex. filed Aug.

   9, 2012) (the “Consolidated Case”). On June 24, 2015, this case was ordered deconsolidated

   from the Consolidated Case.

          9.      In this case, parties have filed numerous documents completely under seal.

          10.     On information and belief, this Court has filed at least three Reports and

   Recommendations completely under seal such that their existence is not immediately apparent

   from the public docket.

          11.     On information and belief, no particularized showing of good cause was made by

   the parties prior to the documents being placed under seal.

          12.     The materials filed under seal purportedly pursuant to a protective order are

   unavailable to the public, including EFF.

          13.     Documents and filings that have been sealed in their entirety include:

                  a.     Audible Magic’s Motion for Summary Judgment of Noninfringement

                         (ECF No. 13), Blue Spike’s Response (ECF No. 21), Audible Magic’s

                         Reply and Supplemental Reply (ECF No. 22, 37), Blue Spike’s Sur-Reply

                         with Additional Attachments (ECF Nos. 27), Blue Spike’s Supplemental

                         Sur-Reply with Additional Attachments (ECF Nos. 42), Blue Spike’s

                         second Supplemental Sur-Reply (ECF No. 46), and their associated

                         exhibits;

                  b.     Audible Magic’s Motion to Strike (ECF No. 47), Blue Spike’s Response




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                          to this Motion (ECF No. 54), Audible Magic’s Reply to this Response

                          (ECF No. 55), Blue Spike’s Sur-Reply (ECF No. 57), and their associated

                          exhibits;

                  c.      This Court’s Report and Recommendation Granting Audible Magic’s

                          Motion for Summary Judgment (on information and belief, ECF No. 56),

                          Blue Spike’s Objections to that Report (ECF No. 62), Audible Magic’s

                          Response to Blue Spike’s Objections (ECF No. 64), Blue Spike’s Reply to

                          Audible Magic’s Response (ECF No. 70), and Audible Magic’s Surreply

                          to Blue Spike’s Reply (ECF No. 71);

                  d.      This Court’s Report and Recommendation Granting Audible Magic’s

                          Motion to Dismiss its Counterclaim for Infringement of U.S. Patent No.

                          6,834,308 (on information and belief, ECF No. 77 or 78), Blue Spike’s

                          Objections to that Report (ECF No. 83), and Audible Magic’s Response to

                          Blue Spike’s Objections (ECF No. 85); and

                  e.      This Court’s Report and Recommendation Denying Blue Spike’s Motion

                          for Summary Judgment of Audible Magic’s Counterclaims 9–13 (on

                          information and belief, ECF No. 77 or 78), Blue Spike’s Objections to that

                          Report (ECF No. 82), and Audible Magic’s Response to Blue Spike’s

                          Objections (ECF No. 84);

   (collectively, the “Sealed Filings”);

          14.     EFF has been unable to examine the Sealed Filings and to this day is unable to

   access the Sealed Filings.

          15.     The transcript of the August 25, 2015 hearing relating to the Sealed Filings is




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   public. See ECF No. 58 (the “Transcript”).

           16.    The transcript includes statements indicating that the filings detail material

   representations and admissions by Scott Moskowitz, the owner of Blue Spike and an inventor of

   the patents-in-suit, about the infringement, scope, and validity of the patents-in-suit.

           17.    The Transcript includes at least the following arguments and allegations made by

   the parties:


           •      Audible Magic’s argument that Blue Spike previously offered for sale the

                  “Giovanni Abstraction Machine” on its website for $10,000, yet later discovery

                  revealed that Blue Spike had never, in fact, sold that product and that that product

                  never existed at all. Transcript at 9:22–11:16; 42:2–44:24.

           •      Audible Magic’s argument that Scott Moskowitz, an inventor of the Patents-in-

                  Suit, “made up” the story regarding the “Giovanni Abstraction Machine” to

                  encourage settlement of patent infringement lawsuits and/or gain legal leverage

                  regarding Blue Spike’s claims of patent infringement. Id. at 30:13–31:17; 45:14–

                  25.

           •      Blue Spike’s argument that even though it never wrote a single line of code for

                  the “Giovanni Abstraction Machine” and told Audible Magic explicitly that the

                  product did not exist, Blue Spike was more akin to a builder offering to build a

                  house. Id. at 36:11–38:21; 47:14–24.

           •      Audible Magic’s argument that Mr. Moskowitz learned about a technology called

                  “Muscle Fish” and then made statements for marketing and commercial purposes

                  that were not true. Id. at 14:8–21.

           •      Audible Magic’s argument that Mr. Moskowitz committed inequitable conduct by

                  not disclosing to the patent office prior art that he was aware of. Id. at 14:22–

                  16:8; 19:8–25:4.

           •      Audible Magic’s argument that Mr. Moskowitz is accusing the prior art “Muscle


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                     Fish” technology of infringement. Id. at 19:5–8.

              •      Audible Magic’s argument that Mr. Moskowitz, Blue Spike’s sole representative,

                     only principal, and sole investor, judicially admitted in deposition that what Blue

                     Spike accuses of infringement is not covered by the Patents-in-Suit. Id. at 48:21–

                     59:16; 61:24–65:10.

              •      Audible Magic’s argument that Mr. Moskowitz made these admissions in order to

                     avoid a finding that the Patents-in-Suit were invalid. Id. at 66:14–70:20.

              •      Blue Spike’s argument that when Mr. Moskowitz was describing what was meant

                     by the term “abstract” he was not describing the term as used in the claims but

                     rather was referring to the invention. Id. at 81:18–82:24.

              •      Blue Spike’s argument that Mr. Moskowitz’s statements are not binding as he was

                     not being deposed as a representative of Blue Spike, despite the fact that Blue

                     Spike has no other principal, investor, or representative. Id. at 87:21–91:12.


              18.    Plaintiff Blue Spike has in the past filed at least 100 cases based on the patents-in-

   suit or patents related to the patents-in-suit, several of which remain pending.

              19.    On information and belief, Plaintiff Blue Spike continues to assert that third

   parties infringe one or more of the patents-in-suit and/or that the inventions described and

   claimed by the patents-in-suit are widely used and/or infringed by others.

              20.    Plaintiff Blue Spike is currently pursuing at least one patent application at the

   United States Patent and Trademark Office that is directly related to one or more of the patents-

   in-suit.

                                                  COUNT I

                    (Violation of Common Law and First Amendment Right of Access)

              21.    EFF incorporates by reference paragraphs 1 through 20, above as if fully set forth



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   herein.

             22.    Federal court records are presumptively open and available to the public.

             23.    EFF has a First Amendment and common law right to inspect records filed with

   the Federal court, absent good cause or compelling reasons to prevent public access to those

   records.

             24.    By sealing records in their entirety, EFF’s First Amendment and common law

   rights to receive information submitted to this Court has been violated.

                                     EFF’S PRAYER FOR RELIEF

             EFF incorporates by reference each of the preceding paragraphs as if fully set forth

   herein. EFF prays for relief as follows and respectfully asks the Court to:

                    a.      Enter judgment in favor of EFF, and against Blue Spike and Audible

                            Magic, finding that EFF’s rights have been violated to the extent that party

                            is unable to show good cause for sealing each and every docket entry or

                            portion thereof;

                    b.      Order the parties to file public copies of each Sealed Filing that does not

                            contain material for which there is good cause for sealing;

                    c.      Order the parties to file public-redacted copies of each filing made under

                            seal, redacting only that information that party is able to demonstrate good

                            cause to withhold from public scrutiny;

                    d.      Enjoin the parties from filing further records under seal unless and until

                            this Court finds the proponent of the sealing has made a particularized

                            showing of good cause, and to the extent good cause can be demonstrated,

                            require the parties to file public-redacted versions of those documents that




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                      redacts only that information for which good cause has been

                      demonstrated; and

                e.    Grant EFF such other and further relief as this Court deems just and

                      proper.

   Dated: March 29, 2016                  By:                /s/ Alexandra H. Moss
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